
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. LITTLEFIELD2022 OK 52Case Number: SCBD-7259Decided: 06/06/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 52, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
David Michael Littlefield, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Information, Supplemental Information, Affidavit, Complaint, Judgment and Sentence, Conditions of Probation, and Plea of Guilty in the matter of State of Oklahoma v. David Michael Littlefield, CF-2019-479, in Muskogee County, Oklahoma. On May 10, 2022, Respondent entered a plea of Guilty to the felony crime of Driving Under the Influence of Alcohol Second and Subsequent in violation of 47 O.S. § 11-902(A)(2). The Court sentenced Littlefield to a three-year suspended sentence. In the Complaint, the OBA provided notice of enhancement per Rule 6.2 due to prior discipline by private reprimand.

¶2 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules."

¶3 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence,

indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court."

¶4 Having received certified copies of these papers and orders, this Court orders that David M. Littlefield is immediately suspended from the practice of law. David M. Littlefield is directed to show cause, if any, no later than June 21, 2022, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until July 7, 2022, to respond.

¶5 Under Rule 7.4, RGDP, this Court "may order the lawyer . . . to show cause in writing why a final order of discipline should not be made. The written return of the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his conduct or by way of mitigating the discipline to be imposed upon him, submit a brief and/or any evidence tending to mitigate the severity of discipline."

¶6 Pursuant to Rule 7.4 of the RGDP, David M. Littlefield has until June 21, 2022, to show cause in writing why a final order of discipline should not be made. The written return shall be verified and expressly state whether a hearing is desired. The lawyer may, in the interest of explaining the conduct or by way of mitigating the discipline to be imposed, file a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until July, 7, 2022, to respond.

¶7 DONE BY ORDER OF THE SUPREME COURT this 6th day of June, 2022.


/S/CHIEF JUSTICE


Darby, C.J., Kane, V.C.J., Winchester, Combs, Gurich and Kuehn, JJ., concur;

Kauger, Edmondson and Rowe, JJ., dissent.




Kauger, J., with whom Edmondson and Rowe, join, dissenting:




I would issue a show cause order.








